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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
EUGENE DUNCAN,                                                    DEFAULT JUDGMENT

                                          Plaintiff,
                                                                          Civil Action No.:
                     -against-                                           1:19-cv-03582-JPO


METAMORPHOSIS DAY SPA, INC.,

                                          Defendants.
--------------------------------------X

        NOW THEREFORE, This action having been commenced on April 23, 2019 by the

filing of the summons, civil cover sheet and complaint, and a copy of the same having been

served through the secretary of state on May 17, 2019 and the Defendant not having answered

the complaint, and the time for answering the complaint having expired, it is


        ORDERED, ADJUDGED, AND DECREED: That the Plaintiff have judgment against

the Defendants to:


        a. Remove their website WWW.METSPA.COM from public access on the world wide

             web.

        b. Cease operation of the website WWW.METSPA.COM until brought into compliance

             with the Americans With Disabilites Act, applying the WCAG 2.0 AA guidelines at a

             minimum, so that the website WWW.METSPA.COM are readily accessible to and

             usable by visually impaired individuals; and

        c. Institute a corporate policy that is reasonably calculated to cause its Website to

             become and remain accessible, including regularly check the accessibility of the

             Website under the WCAG 2.0 AA guidelines (monthly).
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       d. Develop an accessibility policy that is clearly disclosed on Defendant’s websites

            WWW.METSPA.COM with contact information for users to report accessibility-

            related problems and requires that any third-party vendors who participate on its

            website to be fully accessible to the disabled by conforming with WCAG 2.0 AA

            criteria.


       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the website to make it accessible to, and

useable by, individuals with disabilities to the extent required by the American with Disabilities

Act (“ADA”), the New York City Human Rights Laws (“NYCHRL”), and the New York State

Human Rights Law (“NYSHRL”), and take down the website until the requisite modifications

are completed.


       Further, that the Plaintiff be awarded be awarded, not less than, five hundred dollars

($500) in compensatory damages based on the Defendant’s violation of the NYCHRL and the

NYSHRL; the Defendant to comply with the terms of the Final Judgment within sixty (60) days

of the entry of judgment; and this Honorable Court retain jurisdiction relating to the Plaintiff’s

attorneys’ fees and said motion shall be filed within ninety (90) days of entry of this Final

Judgment.




Dated: New York, New York

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                                       ______________________________
                                                   U.S.D.J

                                       This document was entered on the
                                       docket on___________________.
